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                                    MATTHEW I. KNEPPER, ESQ.
                         1          Nevada Bar No. 12796
                         2          BRENDEN J. GOUGEON, ESQ.
                                    Nevada Bar No. 16874
                         3          NEVADA BANKRUPTCY ATTORNEYS LLC
                                    5940 S Rainbow Blvd., Suite 400
                         4          PMB 99721
                                    Las Vegas, NV 89118-2507
                         5
                                    Phone: (702) 848-3855
                         6          Fax: (702) 660-4228
                                    Email: mknepper@nvbankruptcyattorneys.com
                         7          Email: bgougeon@nvbankruptcyattorneys.com
                                    Attorneys for Debtor
                         8
                                                           UNITED STATES BANKRUPTCY COURT
                         9
                                                         FOR THE DISTRICT OF NEVADA (LAS VEGAS)
                       10
                                     In Re:                                          Adv. Proc.: 25-01151-abl
                       11                                                            Case No.: 24-15588-abl
                                     MSHINGES.COM,                                   Chapter 11
                       12
                                                                 Debtor.
                                                                                     CERTIFICATE OF SERVICE RE: ORDER
                       13                                                            GRANTING MOTION FOR ORDER
                                                                                     SHORTENING TIME FOR HEARING ON
                       14                                                            DEBTOR’S EMERGENCY MOTION FOR
                                                                                     TEMPORARY RESTRAINING ORDER
                       15                                                            AND PRELIMINARY INJUNCTION
                       16                                                            Hearing Date: June 30, 2025
                       17                                                            Hearing Time: 4:00 PM
                       18

                       19           MSHINGES.COM,

                       20                                        Plaintiff,

                       21           v.

                       22           PMC FINANCIAL SERVICES GROUP, LLC,

                       23                                        Defendant.

                       24
                                              I HEREBY CERTIFY I caused copies of the Order Granting Motion for Order Shortening
                       25
                                     Time for Hearing on Debtor’s Emergency Motion for Temporary Restraining Order and
                       26
                                     Preliminary Injunction to be served on June 30, 2025, as specified below:
                       27

                       28
NEVADA BANKRUPTY ATTORNEYS LLC
 5940 S. Rainbow Blvd., Suite 400
           PMB 99721
      Las Vegas, NV 89118
     Phone: (702) 805-1597
       Fax: (702) 850-2192
                                      Case 25-01151-abl       Doc 9     Entered 06/30/25 07:45:21           Page 2 of 2



                                    Parties in this matter were served the above related documents as follows:
                         1

                         2           Electronic service (email):                       Chapter 11 Trustee (through ECF System)
                                                                                       justin.c.valencia@usdoj.gov;
                         3                                                             lbubala@kcnvlaw.com;
                                                                                       cdjang@buchalter.com;
                         4                                                             wbuttkus@pmcfsg.com

                         5           First Class U.S. Mail                             PMC Financial Services Group, LLC
                                                                                       Attn: Walter E. Buttkus, III, President
                         6                                                             3816 East La Palma Avenue
                                                                                       Anaheim, CA 92807
                         7

                         8          DATED June 30, 2025.

                         9          I declare under penalty of perjury the foregoing is true and correct.
                       10
                                                                              NEVADA BANKRUPTCY ATTORNEYS LLC
                       11                                                     By: /s/ Graham Waring
                                                                              Graham Waring
                       12                                                     An Employee of Nevada Bankruptcy Attorneys
                       13

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NEVADA BANKRUPTY ATTORNEYS LLC
 5940 S. RAINBOW BLVD., SUITE 400                                                  2 of 2
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